5 F.3d 532NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that no party may cite an opinion not intended for publication unless the cases are related by identity between the parties or the causes of action.
    Clifton POWERS, Social Security #XXX-XX-XXXX, Appellant,v.Donna E. SHALALA, Secretary of the Department of Health andHuman Services, Appellee.
    No. 93-1674EA.
    United States Court of Appeals,Eighth Circuit.
    Submitted:  September 17, 1993.Filed:  September 22, 1993.
    
      Before FAGG, BOWMAN, and LOKEN, Circuit Judges.
      PER CURIAM.
    
    
      1
      We have reviewed the record and conclude that an opinion will have no precedential value.  We affirm on the basis of the district court's order.  See 8th Cir.  R. 47B.
    
    